                IN THE UNITED STATES DISTRICT COURT

           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


EDWARD LAMONT GLOVER,                    :
        Petitioner,                      :
                                         :        1:20CR500-1
                 v.                      :        1:23CV1060
                                         :
UNITED STATES OF AMERICA,                :
         Respondent.                     :


          GOVERNMENT’S RESPONSE TO PETITIONER=S
      MOTION TO VACATE, SET ASIDE, OR CORRECT SENTENCE

      NOW COMES the United States of America, by and through Sandra J.

Hairston, United States Attorney for the Middle District of North Carolina,

and requests that the Court deny the motion of Petitioner, Edward Lamont

Glover (hereinafter “Petitioner”), under 28 U.S.C. § 2255 to vacate, set aside,

or correct his sentence.

                                   Summary

      Petitioner pled guilty to violating 18 U.S.C. §§ 922(g)(1) and 924(e), felon

in possession of a firearm, and was sentenced to 180 months in prison. ECF

Nos. 19, 20, 39, 45; Minute Entries 2/5/21, 6/8/21. Following his direct appeal,

the Fourth Circuit held that the district court did not err, plainly or otherwise,

in finding Petitioner to be an Armed Career Criminal under 18 U.S.C. § 924(e),

based on his three North Carolina common law robbery convictions. United




      Case 1:20-cr-00500-WO     Document 62    Filed 03/11/24   Page 1 of 12
States v. Glover, No. 21-4381 (4th Cir. Aug. 5, 2022) (unpub.) – ECF No. 50.

Now, relying upon New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S.

Ct. 2111 (2022), Petitioner asserts that 18 U.S.C. §§ 922(g)(1) and 924(e) are

facially unconstitutional and as applied under the Second Amendment.

      His claim is procedurally defaulted. Further, as his Second Amendment

claim is without merit, his motion should be denied.

                              Prior Proceedings

      On November 30, 2020, Petitioner was charged with possession with

intent to distribute cocaine in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(C),

possession of firearms in furtherance of a drug trafficking crime in violation of

18 U.S.C. § 924(c)(1)(A)(i) and being a felon in possession of firearms in

violation of 18 U.S.C. §§ 922(g)(1) and 924(e). ECF No. 1. Pursuant to a written

plea agreement, he pled guilty to the §§ 922(g)(1) and 924(e) count on February

5, 2021. ECF Nos. 19, 20; Minute entry 2/5/21. In a judgment issued on July

22, 2021, he was sentenced to 180 months in prison, and the remaining counts

were dismissed. ECF No. 39; see also ECF 45 (Sent. Tr.).

      Petitioner appealed, and the Fourth Circuit affirmed on August 5, 2022.

ECF Nos. 41, 50. His petition for rehearing en banc was denied September 7,

2022. ECF No. 53. On December 5, 2023, Petitioner filed the instant motion



                                       2




      Case 1:20-cr-00500-WO    Document 62    Filed 03/11/24   Page 2 of 12
pursuant to 28 U.S.C. § 2255. ECF No. 55. The government was ordered to

respond. ECF Nos. 56, 59.

                                     Discussion

      Collateral attacks brought under 28 U.S.C. § 2255 are limited to claims

of constitutional magnitude or to errors which inherently result in a complete

miscarriage of justice. United States v. Addonizio, 442 U.S. 178, 184-86 (1979);

Hill v. United States, 368 U.S. 424, 428 (1962); see also United States v.

Timmreck, 441 U.S. 780 (1979). The Fourth Circuit pointed out in Taylor v.

United States, 177 F.2d 194, 195 (4th Cir. 1949):

      Prisoners adjudged guilty of crimes should understand that 28
      U.S.C.A. § 2255 does not give them the right to try over again the
      cases in which they have been adjudged guilty. Questions as to the
      sufficiency of the evidence or involving errors either of law or of
      fact must be raised on timely appeal from the sentence if the
      petitioner desires to raise them. Only where the sentence is void
      or otherwise subject to collateral attack, may the attack be made
      by motion under 28 U.S.C.A. § 2255 which was enacted to take the
      place of habeas corpus in such cases and was intended to confer no
      broader right of attack than might have been in its absence by
      habeas corpus.

      A motion for relief pursuant to 28 U.S.C. § 2255 must normally be

brought within one year of the date that the petitioner’s judgment became

final. Here, Petitioner has done so. ECF Nos. 53, 55; see Clay v. United States,

537 U.S. 522 (2003); Sup. Ct. R. 13.1, 13.3. Thus, his motion is properly before

the Court. 28 U.S.C. § 2255(f)(1).
                                         3




      Case 1:20-cr-00500-WO    Document 62        Filed 03/11/24   Page 3 of 12
      Citing Bruen, Petitioner asserts that § 922(g)(1) is facially and as applied

to him, in violation of his Second Amendment right to bear arms. Motion at 4,

13. Petitioner further relies upon three non-precedential out-of-circuit cases in

support of his argument. Motion at 13 (“Memorandum”), citing United States

v. Griffin, __ F. Supp. __, 2023 WL 8281564 (N.D. Ill. Nov. 30, 2023) (on Second

Amendment grounds, dismissing indictment under § 922(g) brought against

convicted felon), appeal filed (No. 23-3330) (Dec. 7. 2023); United States v.

Prince, __ F. Supp. __, 2023 WL 7220127 (N.D. Ill. Nov. 2, 2023) (same);

Williams v. Garland, 2023 WL 7646490 (E.D. Pa. Nov. 14, 2023) (dismissing

indictment under § 922(g) on Second Amendment grounds), appeal filed (No.

24-1091) (Jan. 17, 2023).

      However, Bruen did not call into question the Fourth Circuit’s prior

decisions 1 upholding the constitutionality of § 922(g)(1). In fact, the concurring

justices in Bruen reiterated the lawfulness of felon-in-possession statutes.

Bruen, 142 S. Ct. at 2157 (Alito. J., concurring); Id. at 2162 (Kavanaugh, J.,




1 See Hamilton v. Pallozzi, 848 F.3d 614, 626 (4th Cir. 2017) (“conviction of a

felony necessarily removes one from the class of ‘law-abiding, responsible
citizens’ for the purposes of the Second Amendment”); United States v. Moore,
666 F.3d 313, 319-20 (4th Cir. 2012); United States v. Smoot, 690 F.3d 215,
221-22 (4th Cir. 2012); and United States v. Pruess, 703 F.3d 242, 245-47 (4th
Cir. 2012).
                                        4




      Case 1:20-cr-00500-WO     Document 62     Filed 03/11/24   Page 4 of 12
concurring). Because Bruen does not overrule Fourth Circuit precedent, this

precedent remains binding. 2

        Further, Petitioner’s claim is procedurally defaulted. He did not raise the

issue on direct appeal, and therefore he cannot bring the issue now. United

States v. Mikalajunas, 186 F.3d 490, 492-93 (4th Cir. 1999); see also United

States v. Pettiford, 612 F.3d 270, 280 (4th Cir. 2010). Petitioner Glover

appeared for sentencing June 28, 2021. ECF No. 45 – Sent. Tr.; Minute entry

6/28/2021. He filed his Fourth Circuit appellate brief February 2, 2022. United

States v. Glover, No. 21-4381, ECF No. 39 (Defendant’s Brief, filed 2/2/2022).

By then, it had been three months since the Supreme Court had heard oral

argument in New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111

(2022), on November 3, 2021.

        To overcome procedural default, Petitioner bears the burden of showing

either: (1) “cause” for the default and “actual prejudice” from the asserted

error, or (2) that he is actually innocent. United States v. Fugit, 703 F.3d 248,

253 (4th Cir. 2012) (quoting Bousley v. United States, 523 U.S. 614, 622 (1998)).

Petitioner fails to demonstrate cause for his default except to the extent that



2 The  Seventh Circuit, where the petitioner-cited Griffin and Prince cases
arose, has no binding precedent as to whether the Second Amendment protects
the possession of a firearm by felons. United States v. Atkinson, 70 F.4th 1018,
1023 (7th Cir. 2023).
                                        5




        Case 1:20-cr-00500-WO    Document 62    Filed 03/11/24   Page 5 of 12
he refers to the Bruen decision, decided while his case was pending appeal, and

its progeny, decided after his appeal was denied. See Motion at 13. To the

extent Petitioner seeks to establish “cause” because raising such a Second

Amendment challenge would have been futile, this argument is unavailing.

The Supreme Court has stated that “futility cannot constitute cause if it means

simply that a claim was unacceptable to that particular court at that particular

time.” Bousley, 523 U.S. at 623 (quotation marks omitted). And, to the extent

Petitioner would argue that a change in the law post-Bruen excuses his failure

to raise the issue at the district court and direct appeal stage, “the state of the

law must have been such that the legal basis for the claim was not reasonably

available when the matter should have been raised.” Mikalajunas, 186 F.3d at

493; see also Hargrave v. Dugger, 832 F.2d 1528, 1531 (11th Cir. 1987) (to

demonstrate “cause” sufficient to overcome procedural default, a “new

retroactive decision” must also announce a rule that was a “‘clear break with

the past’” such that “an attorney representing the defendant would not

reasonably have had the tools for presenting the claim.”) (quoting Reed v. Ross,

468 U.S. 1, 17 (1984)).

      Thus, defendants cannot demonstrate “cause” for their failure to

challenge federal firearm statutes under the Second Amendment before Bruen.

While the Fourth Circuit analyzed (and upheld) the constitutionality of federal
                                        6




      Case 1:20-cr-00500-WO     Document 62     Filed 03/11/24   Page 6 of 12
firearms laws after Heller 3, see, e.g., United States v. Carter, 750 F.3d 462, 466-

467 (4th Cir. 2014) (applying means-end scrutiny), grounds still existed to

argue that the correct Second Amendment framework was based on history

and tradition. See, e.g., Nat’l Rifle Ass’n, Inc. v. Bureau of Alcohol, Tobacco,

Firearms, & Explosives, 714 F.3d 334, 338 (5th Cir. 2013) (Jones, J., dissenting)

(opining that “the fundamental right to keep and bear arms is not itself subject

to interest balancing”); Heller v. Dist. of Columbia, 670 F.3d 1244, 1271 (D.C.

Cir. 2011) (Kavanaugh, J., dissenting) (“In my view, Heller and McDonald

leave little doubt that courts are to assess gun bans and regulations based on

text, history, and tradition, not by a balancing test such as strict or

intermediate scrutiny.”).

      Nor can Petitioner show actual prejudice due to existing Fourth Circuit

precedent. See United States v. Frady, 456 U.S. 152, 166 (1982) (finding it

unnecessary to determine whether the petitioner had shown cause for the

procedural default since “he suffered no actual prejudice of a degree sufficient

to justify collateral relief”). He does not appear to assert actual innocence, nor

can he. He possessed two firearms following his three prior convictions for



3 District of Columbia v. Heller, 554 U.S. 570 (2008).




                                         7




      Case 1:20-cr-00500-WO     Document 62     Filed 03/11/24   Page 7 of 12
North Carolina common law robbery. ECF No. 13 – Factual Basis; ECF No. 50

– Opinion (affirming district court’s determination that Glover was an Armed

Career Criminal).

      Nonetheless, to the extent that Petitioner would contend he is “actually

innocent” of the instant offense because it is unconstitutional post-Bruen, that

attempt fails. Bruen clarified the framework for analyzing Second Amendment

claims: it does not clearly demonstrate the unconstitutionality of federal

firearms laws so that a prisoner can satisfy the demanding actual innocence

standard. This is borne out by the great weight of authority, post-Bruen, which

upholds the constitutionality of § 922(g). See United States v. Fowler, No. 1:23-

CR-165, 2024 WL 197601, at *6 (E.D. Va. Jan. 18, 2024) (citing Government

argument that over 300 district courts had upheld the constitutionality of

§ 922(g)(1) in contrast to the defendant’s reliance upon three district court

cases, neither persuasive nor binding, taking the contrary view). 4

      Even if the Court were to consider the issue afresh, the Second

Amendment’s text does not prevent disarming felons, both because felons can

be excluded from the political community and because the Amendment codified




4 Currently, the Fourth Circuit has under consideration a facial challenge to

§ 922(g). United States v. Canada, No. 22-4519 (argued Dec. 5, 2023).

                                       8




      Case 1:20-cr-00500-WO    Document 62    Filed 03/11/24   Page 8 of 12
a pre-existing right that excluded felons. See District of Columbia v. Heller, 554

U.S. 570 (2008); Thomas M. Cooley, A Treatise on the Constitutional

Limitations Which Rest Upon the Legislative Power of the States of the

American Union 28-29 (1st ed. 1868); Akhil Reed Amar, The Bill of Rights 48

(1998). Moreover, Heller and Bruen interpreted the Amendment’s text as

protecting the rights of “law-abiding citizens,” which necessarily excludes

felons. Petitioner, having been convicted of three North Carolina common law

robbery felonies prior to possessing the instant firearms, is far from a “law-

abiding citizen.” ECF No. 13 – Factual Basis at 3-6.

      Section 922(g)(1) is also consistent with the historical tradition of firearm

regulation. When the Second Amendment was adopted, persons convicted of

felonies were regularly subject to severe penalties, including death and

forfeiture of their entire estates. Additionally, colonial and state legislatures

possessed the unquestioned power to disarm citizens seen as being

untrustworthy or outside the political community, such as those who refused

to take loyalty oaths. Although not identical to § 922(g)(1), these statutes are

similar and demonstrate that § 922(g)(1) is constitutional, particularly as

applied to someone with Petitioner’s ACCA-qualifying violent felony record.

See Medina v. Whitaker, 913 F.3d 152, 158-60 (D.C. Cir. 2019).



                                        9




      Case 1:20-cr-00500-WO     Document 62    Filed 03/11/24   Page 9 of 12
      Furthermore, to the extent the Court were to consider Petitioner’s

argument that § 922(g)(1) is unconstitutional, as applied to him, in view of his

assertion that his previous convictions for North Carolina common-law robbery

did not involve use of a weapon and thus were “nonviolent,” (Motion at 4), this

claim is barred by the Fourth Circuit’s decision in United States v. Pruess:

      Pruess . . . held that § 922(g)(1) is valid as applied to non-violent
      offenses. After explaining that the First, Fifth, Seventh, Ninth,
      and Eleventh Circuits had rejected the argument that the “Second
      Amendment protects the right of non-violent felons to possess
      ammunition,” 703 F.3d at 245, the Fourth Circuit “join[ed] [its]
      sister circuits in holding that application of the felon-in-possession
      prohibition to allegedly non-violent felons like Pruess does not
      violate the Second Amendment,” id. at 247. Because Pruess
      remains precedential, the violent or non-violent nature of the
      felony at issue is immaterial—§ 922(g)(1) lawfully prohibits
      persons convicted of either violent or nonviolent felonies from
      possessing firearms.

Fowler, 2024 WL 197601, at *7 (quoting Pruess, 703 F.3d at 245, 247).

Accordingly, Petitioner’s as-applied challenge also fails.




                                       10




     Case 1:20-cr-00500-WO     Document 62     Filed 03/11/24   Page 10 of 12
                               Conclusion

     For the reasons stated, Petitioner’s motion for relief under 28 U.S.C.

§ 2255 should be denied and dismissed.

     This the 11th day of March, 2024.
                                  Respectfully submitted,

                                  SANDRA J. HAIRSTON
                                  United States Attorney


                                  /s/ ANGELA H. MILLER
                                  Assistant United States Attorney
                                  SCSB No. 11662
                                  United States Attorney’s Office
                                  Middle District of North Carolina
                                  101 S. Edgeworth Street, 4th Floor
                                  Greensboro, North Carolina 27401
                                  Phone: (336) 333-5351




                                    11




     Case 1:20-cr-00500-WO   Document 62   Filed 03/11/24   Page 11 of 12
                          CERTIFICATE OF SERVICE

     I hereby certify that on March 11, 2024, the foregoing was electronically

filed with the Clerk of the Court using the CM/ECF system which will notify

the following CM/ECF participant:

     Noell P. Tin, Esq.


                                    Respectfully submitted,

                                    /s/ ANGELA H. MILLER
                                    Assistant United States Attorney
                                    SCSB No. 11662
                                    United States Attorney’s Office
                                    Middle District of North Carolina
                                    101 S. Edgeworth Street, 4th Floor
                                    Greensboro, North Carolina 27401
                                    Phone: (336) 333-5351




                                     12




     Case 1:20-cr-00500-WO    Document 62   Filed 03/11/24    Page 12 of 12
